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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Jacqueline Marie Walker
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−02203
                                                      Honorable Robert M. Dow Jr.
Verde Energy USA, Inc.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 18, 2017:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Pursuant to the notice of
voluntary dismissal with prejudice [14] filed on 5/18/2017, this action is dismissed with
prejudice. Status hearing set for 6/8/2017 is stricken. Civil case terminated. Mailed
notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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